                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


UNITED STATES FIRE                                                   CIVIL ACTION
INSURANCE COMPANY,
    Plaintiff


VERSUS                                                               NO. 14-441


A-PORT, LLC, et al.,                                                 SECTION: "E" (2)
     Defendants



                                  ORDER AND REASONS

           This is a civil action involving an insurance policy (the "Policy") between United

States Fire Insurance Company ("U.S. Fire") and A-Port, LLC ("A-Port"). U.S. Fire seeks

a declaratory judgment that it owes no duty to defend or indemnify A-Port and its

employees against a state-court action filed by Willie Walton ("Walton").                The

defendants have filed a motion to dismiss for lack of subject matter jurisdiction, or in

the alternative to stay pending resolution of the state-court action, or in the further

alternative to compel joinder of Walton as an indispensable party.1

           The questions presented are several. First, the Court must determine whether

this declaratory judgment action is justiciable.       Second, the Court must determine

whether it has authority to grant declaratory relief. Third, the Court must decide how to

exercise its broad discretion to decide, stay, or dismiss this action. Finally, if the Court

finds that any claim(s) are justiciable, that it has authority to grant declaratory relief,




1   R. Doc. 6.

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and that a stay or dismissal is inappropriate, the Court must determine whether Walton

is an indispensable party under Rule 19, and, if so, whether joinder is feasible.

           For the following reasons, the Motion is GRANTED IN PART and DENIED IN

PART. The Motion is GRANTED in that U.S. Fire's indemnity claim is DISMISSED

WITHOUT PREJUDICE as unripe. The Motion is DENIED in all other respects. The

duty-to-defend claim will remain pending and is not stayed.              Walton is not an

indispensable party.

                                       BACKGROUND

           This coverage dispute stems from a personal injury action filed by Walton in state

court (the "Walton Suit"). According to the petition, Walton's payroll employer "loaned

his services" as a rigger to A-Port. Walton further alleges he sustained personal injury

on October 31, 2012 while helping A-Port employees Clint Givens ("Givens") and Dustin

Guidry ("Guidry") load a mudtank onto a flatbed trailer. During the loading process, the

mudtank fell on Walton's left foot, causing "displaced fractures of the distal fibula and

medial malleolus and associated subluxation of the talus."2 As a result of these injuries,

Walton has undergone "two (2) open reductions with the implementation of stabilizing

hardware and screws."3

           On October 24, 2013, Walton filed a negligence action in state court against A-

Port, Givens, and Guidry. Walton seeks an unspecified amount of damages for "physical

pain and suffering, mental anguish, loss of enjoyment of life's pleasures, past and future

lost wages, and past and future medical expenses." The petition does not request

attorneys' fees.



2   R. Doc. 1-1, ¶9.
3   Id. at ¶10.

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        U.S. Fire is currently defending A-Port, Guidry, and Givens (collectively "A-Port")

in the Walton Suit under a reservation rights in the Policy. On February 26, 2014, U.S.

Fire filed this declaratory judgment action. U.S. Fire seeks two different declarations

under the Policy: (1) that it owes no duty to defend A-Port in the Walton Suit, and (2)

that it owes no duty to indemnify A-Port for any losses sustained as a result of the

Walton Suit.

        A-Port filed the instant motion on June 2, 2014. Resolution has been delayed

due to developments in the Walton Suit. On August 12, 2014, the Walton Suit was

dismissed on summary judgment.4 On September 29, 2014, Judge Robert Morrison, III

granted a motion for devolutive appeal.5 The Walton Suit is currently pending on

appeal.

                                             DISCUSSION

        The Court will begin by conducting a three-step inquiry.6 First, the Court will

determine whether the action is justiciable.7 Second, the Court will determine whether it

has authority to grant declaratory relief.8 Third, the Court will determine "how to

exercise its broad discretion to decide or dismiss a declaratory judgment action."9 Then,

as to any claims that survive this analysis, the Court will address whether Walton is an

indispensable party.




4 R. Doc. 12.
5 R. Doc. 15-1.
6 Orix Credit Alliance, Inc. v. Wolfe, 212 F.3d 891, 895 (5th Cir. 2000).
7 Id.
8 Id.
9 Id.


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I.     Justiciability

       The justiciability doctrines of standing, mootness, political question, and ripeness

derive from Article III's "case or controversy" requirement.10 In a declaratory judgment

action, justiciability often turns on ripeness.11 This case is no exception.

       The ripeness doctrine is drawn "both from Article III limitations on judicial

power and from prudential reasons for refusing to exercise jurisdiction."12 The purpose

of this doctrine is to forestall "entanglement in abstract disagreements" through

"avoidance of premature adjudication."13 "The key considerations are 'the fitness of the

issues for judicial decision and the hardship to the parties of withholding court

consideration.'"14

       The Fifth Circuit has recognized that "applying the ripeness doctrine in the

declaratory judgment context presents a unique challenge."15 This stems primarily from

the fact that declaratory relief often involves an ex ante determination of rights, i.e., a

determination of rights before an injury has occurred, that "exists in some tension with

traditional notions of ripeness.16 Fortunately, this challenge is not presented today,

because the Court's analysis is guided by a distinct subset of ripeness jurisprudence on

insurance coverage disputes.




10 Choice Inc. of Tex. v. Greenstein, 691 F.3d 710, 714–15 (5th Cir. 2012).
11 See id; Orix, 212 F.3d at 895; Rowan Cos., Inc. v. Griffin, 876 F.2d 26, 27–28 (5th Cir. 1989).
12 Reno v. Catholic Soc. Servs., Inc., 509 U.S. 43, 57 n.18 (1993).
13 Abbot Labs. v. Gardner, 387 U.S. 136, 148 (1967).
14 New Orleans Public Serv., Inc. v. Counsel of City of New Orleans, 833 F.2d 583, 586 (5th Cir. 1987)

(quoting Abbot Labs., 387 U.S. at 149).
15 Orix, 212 F.3d at 896 (internal quotation marks omitted).
16 Id.


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        The case law distinguishes between the duty to defend and the duty to

indemnify.17 Because diversity is premised on diversity of citizenship, these duties are

defined by the laws of the forum state.18 Under Louisiana law, an insurer's duty to

defend is broader than its duty to indemnify.19 The duty to defend is determined solely

by comparing the pleadings against the insured with the insurance policy.20 "Unless

unambiguous exclusion of all of the plaintiff's claims is shown, the duty to defend

arises."21 Because the duty to defend does not depend on the outcome of the underlying

law suit,22 a duty-to-defend claim is ripe as when the underlying suit is filed.23

According, U.S. Fire's duty-to-defend claim is ripe.

        Unlike the duty to defend, the duty-to-indemnify issue is "premature and non-

justiciable" until "the underlying issue of liability is resolved and the defendant is cast in

judgment."24 The Walton Suit is still on appeal. Unless and until summary judgment is




17 See Martco Ltd. P'ship v. Wellons, Inc., 588 F.3d 864, 872 (5th Cir. 2009) ("An insurer's duty to defend
suits on behalf on an insured presents a separate and distinct inquiry from that of the insurer's duty to
indemnify . . . .").
18 See Ace Am. Ins. Co. v. Freeport Welding & Fabricating, Inc., 699 F.3d 832, 839–40 (5th Cir. 2012).
19 See Elliott v. Cont'l Cas. Co., 949 So. 2d 1247, 1250 (La. 2007) (citing Steptore v. Masco Constr. Co.,

Inc., 643 So. 2d 1213, 1218 (La. 1994))
20 See Suire v. Lafayette City-Parish Consol. Gov't, 907 So. 2d 37, 52 (La. 2005); Martco, 588 F.3d at

872–73 ("[A]n insurer's duty to defend arises whenever the pleadings against the insured disclose a
possibility of liability under the policy.").
21 Suire, 907 So. 2d at 52.
22 Id.
23 See Columbia Cas. Co. v. Ga. & Fla. RailNet, Inc., 542 F.3d 106, 110 (5th Cir. 2008) ("An actual case or

controversy exists before the resolution of an insured's underlying suit concerning the insurer's duty to
defend.") (emphasis in original); Morad v. Aviz, No. 12-2190, 2013 WL 1403298, at *2 (E.D. La. Apr. 5,
2013) ("Courts have routinely held that courts may determine an insurer's duty to defend even before the
underlying suit is decided."); Greenwich Ins. Co. v. Capsco Indus., Inc., No. 1:14CV297-LG-JCG, 2014 WL
5025856, at *2 (S.D. Miss. Oct. 8, 2014).
24 New England Ins. Co. v. Barnett, 465 F. App'x 302, 208 (5th Cir. 2012); see also Coregis Ins. Co v. Sch.

Bd. of Allen Parish, No. 07-30844, 2008 WL 2325632, at *2 (5th Cir. 2008) ("[T]he duty-to-indemnify
issue [is] not ripe when the underlying state court lawsuit ha[s] not been completed."); Threadgill v.
Orleans Parish Sch. Bd., No. 02-1122, 2013 WL 3777036, at *2 (E.D. La. July 18, 2013); Travelers Cas &
Sur. Co. of Am. v. Univ. Facilities, Inc., No. 10-1682, 2012 WL 1198611, at *11 (E.D. La. Apr. 10, 2012)
(collecting cases); Nat'l Union Fire Ins. Co. of Pittsburgh, Pa. v. St. Bernard Parish Gov't, No. 03-3551,
2004 WL 877379, at *2 (E.D. La. Apr. 21, 2004); Morad, 2013 WL 1403298, at *3.

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reversed, the case is remanded, and A-Port is found liable to Walton, U.S. Fire's

indemnity claim is not ripe.

II. Authority to Grant Declaratory Relief

        Because the Anti-Injunction Act does not apply in this case,25 the Court's

authority to grant declaratory relief on the duty-to-defend claim turns on whether

subject matter jurisdiction is proper.26           Subject matter jurisdiction is premised on

diversity of citizenship. Under 28 U.S.C. § 1332(a), jurisdiction is proper where (1) the

parties are completely diverse, and (2) the amount in controversy exceeds $75,000. 27

        The parties are completely diverse when "the citizenship of each plaintiff is

diverse from the citizenship of each defendant."28 U.S. Fire is a corporation. For

purposes of diversity jurisdiction, a corporation is a citizen of (1) its state of

incorporation, and (2) the state in which its principal place of business is located.29

According to the complaint, U.S. Fire is incorporated in Delaware. The principal place

of business is located in New Jersey. Ergo, U.S. Fire is a citizen of Delaware and New

Jersey.

        Unlike corporations, a limited liability company like A-Port takes the citizenship

of its members.30 Both of A-Port's members are Louisiana citizens.31 Accordingly, A-

Port is a citizen of Louisiana. The other two Defendants—Dustin Guidry and Clint


25 The Anti-Injunction Act does not apply, because there no is pending state court action between U.S.
Fire and any of the defendants in this case. See Sherwin-Williams Co. v. Holmes Cnty., 343 F.3d 383,
387–88 (5th Cir. 2003).
26 See id. at 387–88 .
27 See 28 U.S.C. § 1332(a).
28 Caterpillar Inc. v. Lewis, 519 U.S. 61, 68 (1996). The parties have not disputed complete diversity.

Nonetheless, the Court has a duty to examine all aspects of subject matter jurisdiction sua sponte. See
Union Planters Bank Nat'l Ass'n v. Salih, 369 F.3d 457, 460 (5th Cir. 2004).
29 28 U.S.C. § 1332(c)(1).
30 Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008).
31 R. Doc. 19. The Court previously ordered U.S. Fire to file an amended complaint solely for the purpose

of properly alleging citizenship. See R. Doc. 16.

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Givens—are also Louisiana citizens.32 Because none of the Defendants are Delaware or

New Jersey citizens, the parties are completely diverse.

        In addition to complete diversity, Section 1332(a) requires that the amount in

controversy exceed $75,000. As the party invoking federal jurisdiction, U.S. Fire bears

the burden of establishing the amount in controversy by a preponderance of the

evidence.33 In order to determine whether that burden has been met, the Court first

inquires whether it is "facially apparent" from the complaint that the amount in

controversy exceeds $75,000.34 If not, the Court may examine summary judgment-type

evidence.35

        When an insurer seeks a declaratory judgment on coverage issues, the amount in

controversy is equal to the "insurer's potential liability under the policy, plus potential

attorneys' fees, penalties, statutory damages, and punitive damages."36 As set forth in

the complaint and the petition from the Walton Suit, Walton suffered significant injury

to his left foot, which has required two surgeries and will require future medical

treatment. A-Port's potential liability for these injuries—and thus U.S. Fire's derivative

indemnity liability—could easily exceed $75,000.37                 When coupled with U.S. Fire's


32 R. Doc. 19.
33 See Garcia v. Koch Oil Co. of Tex. Inc., 351 F.3d 636, 639 (5th Cir. 2003).
34 See Hartford Ins. Grp. v. Lou-Con Inc., 293 F.3d 908, 910 (5th Cir. 2002).
35 Id.
36 Id. (internal quotation marks omitted). Unless the insurer seeks to void the entire insurance contract,

the amount in controversy is not measured by the face amount of the policy. Id. at 911.
37 The question arises whether U.S. Fire's unripe indemnity claim can count towards the amount in

controversy. The Seventh Circuit squarely addressed this issue in Meridian Security Insurance v.
Sadowski, 441 F.3d 536 (7th Cir. 2006). In Meridian, an insurer sought a declaratory judgment in federal
court that it owed no duty to defend or indemnify its insured against a claim pending in state court. Id. at
537. The district court dismissed the case for lack of diversity jurisdiction. Id at 537–38. After noting
that an insurer's duty to indemnify is not ripe until the insured has been cast in judgment, the district
court held that an unripe claim cannot factor in the amount in controversy. Id. The Seventh Circuit
disagreed, holding that the insurer's "potential obligation to indemnify [its insured] was in controversy
from the moment this suit began and could have been resolved while the state suit was ongoing." Id. at
539. Because the duty to defend is broader than the duty to indemnify, a ruling of no duty to defend
would necessarily resolve the indemnity claim. See id. "No more is needed to show the value of

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defense obligations, the Court concludes the amount in controversy exceeded the

jurisdictional amount at the time this action was filed.38

III. Discretion to Exercise Jurisdiction

        "Since its inception, the Declaratory Judgment Act has been understood to confer

on federal courts unique and substantial discretion in deciding whether to declare the

rights of litigants," even when subject matter jurisdiction is otherwise proper.39 But this

discretion is not rudderless. The Fifth Circuit has developed seven factors—the so-called

"Trejo factors"—that a district court should consider:

                (1) whether there is a pending state action in which all of the
                matters in controversy may be fully litigated;
                (2) whether the plaintiff filed suit in anticipation of a lawsuit
                filed by the defendant;
                (3) whether the plaintiff engaged in forum shopping in
                bringing the suit;
                (4) whether possible inequities in allowing the declaratory
                plaintiff to gain precedence in time or to change forums
                exist;
                (5) whether the federal court is a convenient forum for the
                parties and witnesses;
                (6) whether retaining the lawsuit would serve the purposes
                of judicial economy; and
                (7) whether the federal court is being called on to construe a
                state judicial decree involving the same parties and entered
                by the court before whom the parallel state suit between the
                same parties is pending.40

        As set forth below, all factors weigh in favor of exercising jurisdiction.

Accordingly, the Court will not dismiss or stay this action.




indemnity was 'in controversy' on the date this federal case began." Id. The Fifth Circuit has implicitly
endorsed the Seventh Circuit's approach by holding that the amount in controversy is equal to the
insurer's "potential liability under [the] policy. See St. Paul Reinsurance Co. Ltd., 134 F.3d 1250, 1253
(5th Cir. 1998) (emphasis added); Hartford Ins. Grp., 293 F.3d at 912.
38 Jurisdictional facts are judged as of the time the complaint is filed. St. Paul, 134 F.3d at 1253.
39 Wilton v. Seven Falls Co., 515 U.S. 277, 286 (1995).
40 Sherwin-Williams, 343 F.3d at 388.


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        1. Nature of Pending State Court Action

        The first Trejo factor requires comparison of the declaratory judgment action

with the underlying state-court action.41 If the declaratory judgment action presents the

same issues as the state-court action, involves the same parties, and is not governed by

federal law, the federal court should generally decline to exercise jurisdiction.42 If, on

the other hand, the state-court action is not truly parallel because it does not involve all

the same parties or issues as the declaratory judgment action, a federal court should

consider the degree of similarity between the two actions.43

        U.S. Fire is not a party to the Walton Suit.44 Moreover, whereas the Walton Suit

involves issues of fact, fault, and causation, the federal action involves a straightforward

examination of the pleadings against A-Port and the Policy. Resolution of the Walton

Suit has no bearing on U.S. Fire's duty to defend. The state and federal proceedings are

clearly not parallel. "[T]he lack of a pending parallel state proceeding . . . weighs

strongly against dismissal."45

        2. Order of Filing

        The Walton Suit predates this action by over four months. Thus, this action was

not filed in anticipation of, but rather in response to, the Walton Suit. The second Trejo

factor weighs in favor of exercising jurisdiction.


41 See id. at 393–94.
42  See id. at 393–94; Wilton, 515 U.S. at 283 ("[W]here another suit involving the same parties and
presenting opportunity for ventilation of the same state law issues is pending in state court, a district
court might be indulging in '[g]ratuitous interference,' if it permitted the federal declaratory action to
proceed.") (second alteration in original) (internal citation omitted) (quoting Brillhart v. Excess Ins. Co.
of Am., 316 U.S. 491, 495 (1942)).
43 See Sherwin-Williams, 343 F.3d at 394 n.5.
44 A-Port alleges it has filed pleadings in the Walton Suit to add U.S. Fire as a third-party defendant. R.

Doc. 6-2, p.9. There is no evidence U.S. Fire was ever added as a party. Indeed, U.S. Fire explicitly states
that it is not a party to the Walton Suit. See R. Doc. 8, p. 9.
45 Id. at 394; see also Fed. Ins. Co. v. Sw. Materials, Inc., No. Civ.A. 02-1787, 2003 WL 21634945, at *3

(E.D. La. July 3, 2003) (finding abstention unwarranted in similar circumstances).

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          3. Forum Shopping

          That U.S. Fire could have filed for declaratory judgment in the Walton Suit does

not necessarily demonstrate forum shopping. As a preliminary matter, there is no

guarantee U.S. Fire would have been allowed to intervene. Moreover, courts are less

likely to find forum shopping where, as here, (1) a foreign insurer files a diversity action

in federal court, and (2) the selection of the federal forum does not change the

applicable law.46 The third Trejo factor weighs in favor of exercising jurisdiction.

          4. Inequities

          The Court cannot conceive of any inequities that flow from allowing U.S. Fire to

proceed in this action while the Walton Suit remains pending. As explained above, the

Walton Suit and this action are not parallel in any material sense. No party will be

prejudiced if this action is resolved before the Walton Suit. The fourth Trejo factor

weighs in favor of exercising jurisdiction.

          5. Convenience of Federal Forum

          The defendants in this action are based in Louisiana. No witnesses are needed to

determine U.S. Fire's duty to defend vel non. The fifth Trejo factors weighs in favor of

exercising jurisdiction.

          6. Judicial Economy

          This action has been pending for over one year. The duty-to-defend issue is

simple and will almost certainly be decided on the papers. It would be a waste of

judicial resources to dismiss this action and require U.S. Fire to refile in another forum.

Exercising jurisdiction is clearly in the interest of judicial economy.



46   See Sherwin-Williams, 343 F.3d at 399.

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       7. Interpretation of Decree from Parallel State Proceeding

       The Walton Suit and the instant action are clearly not parallel. Moreover, this

Court need not interpret any decree issued in the Walton Suit in order to determine U.S.

Fire's duty to defend. The seventh Trejo factor weighs of favor of exercising jurisdiction.

IV.    Joinder

       Having determined that the duty-t0-defend claim is ripe for adjudication, that

the Court has authority to grant declaratory relief, and that a dismissal or stay is

inappropriate, the Court will now address the joinder issue. Rule 19(a)(1) provides that

a party subject to service of process and whose joinder will not deprive the court of

subject matter jurisdiction must be joined if:

               (A) in that person's absence, the court cannot accord
               complete relief among existing parties; or
               (B) that person claims an interest relating to the subject of
               the action and is so situated that disposing of the action in
               the person's absence may:
                       (i) as a practical matter impair or impede the person's
                       ability to protect the interest; or
                       (ii) leave an existing party subject to a substantial risk
                       of incurring double, multiple, or otherwise
                       inconsistent obligations because of the interest.47

       A-Port argues Walton is a required party under Rule 19(a)(1)(B)(ii). This issue

need not detain the Court long. Walton has no reasonable interest in whether U.S. Fire

owes A-Port a duty of defense under the Policy. But even if he did, it is inconceivable

how disposing of this declaratory judgment action could leave any of the parties with a

"substantial risk" of incurring inconsistent obligations. A-Port has failed to meet its

burden of demonstrating that Walton is a necessary party.48



47Fed. R. Civ. P. 19(a)(1).
48See Hood ex rel. Miss. v. City of Memphis, Tenn., 570 F.3d 625, 628 (5th Cir. 2009) ("[T]he party
advocating joinder has the initial burden of demonstrating that a missing party is necessary . . . .").

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                                     CONCLUSION

       U.S. Fire's indemnity claim is not ripe for adjudication and is therefore dismissed

without prejudice. U.S. Fire's duty-to-defend claim, however, is ripe for decision, and

there is no reason the Court should decline to hear it. Walton has no interest in this

claim, and therefore his joinder is not required.

       New Orleans, Louisiana, this 26th day of March, 2015.



                                __________ __ ________ _________
                                         SUSIE MORGAN
                                  UNITED STATES DISTRICT JUDGE




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